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                     IN THE UNITED STATES DISTRICT COURT FOR THE
                            NORTHERN DISTRICT OF INDIANA
                                 FORT WAYNE DIVISION


 UNITED STATES OF AMERICA,

        Plaintiff,
                                                No. 1:24-cv-00448-HAB-SLC
                v.
                                                JOINT MOTION TO
 VERNON D. MILLER, individually and             ENTER THE
 d/b/a Dutch Creek Farm Animal Park,            CONSENT DECREE

       Defendant.
 ____________________________________


        Plaintiff, the United States of America, and Defendant, Vernon D. Miller, (collectively the

 “Parties”) respectfully move this Court to enter the attached Consent Decree, resolving the Animal

 Welfare Act (“AWA”) claims raised in Plaintiff’s Complaint (ECF No. 1) in accordance with the

 terms of the attached agreement. See Attachment A. Counsel for Defendant has agreed to and

 signed the attached Consent Decree on behalf of Mr. Miller.

        The Consent Decree will remain in effect for five years from the date of entry by the Court.

 Id. ¶ 25. It provides that Mr. Miller, having entered into an administrative Consent Decision with
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 USDA that terminated his U.S. Department of Agriculture (“USDA”) license on January 24, 2025,

 will not apply for any USDA license or registration for at least two years. Id. at 3 and ¶ 5. At any

 time that he is unlicensed and unregistered, Mr. Miller will, inter alia, refrain from activity that

 would require a USDA license or registration, id. ¶ 6; consent to USDA inspectors or officers

 accessing his facility at any time and in any manner that members of the general public are invited

 onto the property so that USDA may monitor for compliance with the AWA and the Consent

 Decree, id. ¶ 7; and produce acquisition and disposition records for any dogs and wild and exotic

 animals to the United States every three months, beginning on April 1, 2025, id. ¶ 7(b). Mr. Miller

 may apply for a USDA license or registration on or after January 24, 2027. Id. ¶ 5. During any

 time that he holds a USDA license or registration, Mr. Miller shall comply with the recordkeeping

 and animal care requirements set forth in the Consent Decree, which pertain to veterinary care,

 facilities and enclosures, cleaning and sanitation, and food and water. Id. ¶ 9. The Consent Decree

 provides that the Court retains jurisdiction after dismissal to oversee compliance with the terms of

 the Consent Decree and to resolve any future motions to modify or enforce such terms. Id. ¶ 28.

        The Parties agree that the Consent Decree is a fair and reasonable resolution of this case

 and is in the public interest. Accordingly, the Parties respectfully request that the Court sign and

 enter the attached Consent Decree.




 DATED: January 24, 2025                     Respectfully submitted,




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